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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456
AVERAGE WHOLESALE PRICE LITIGATION

THIS DOCUMENT RELATES TO: CIVIL ACTION: 01-CV-12257-PBS

ALL ACTIONS Judge Patti B. Saris

DECLARATION OF STEVE W. BERMAN IN SUPPORT OF PLAINTIFFS!
EMERGENCY MOTION TO COMPEL SCHERING-PLOUGH TO PRODUCE
DOCUMENTS AND DATA UNDERLYING CRIMINAL PLEA AND SETTLEMENT
AGREEMENT

I, Steve W. Berman, under oath declares as follows:

1. 1 am one of the attorneys for Class Plaintiffs in MDL 1456 and have personal
knowledge of the facts set forth herein.

2. When the Government announced its Settlement in August we were surprised at
the fact Schering was agreeing to both a criminal plea and to pay hundreds of millions in fines
arising out of conduct that was directly related to the allegations in the MDL.

3. The Settlement Agreement refers to Schering paying $500.00 per patient to
induce doctors to prescribe Peg Intron. Our review of the MDL discovery does not reveal that
such payment records were produced.

4. We also cannot find evidence of the inducements paid to doctors to use Temodar
or Intron-A, as described in the Settlement Agreement.

5. We immediately wrote to Schering asking for the identification of the Bates

numbers where such information had been produced.

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6. Schering responded by refusing to identify where such documents had been
produced.
7. Class Plaintiffs also issued a 30(B)(6) deposition notice seeking the identity of

witnesses who could testify on the facts and documents relating to the plea and physician

inducements. Schering failed to show up.

8. Attached hereto are true and correct copies of the following exhibits:
A Settlement Agreement and Release
B. Plaintiffs’ Omnibus Requests for Production and Interrogatories to Defendants

Abbott, Amgen, Aventis, Baxter, Bayer, Boehringer, Braun, Dey, Fujisawa,
Novartis, Pfizer, Pharmacia, Sicor, TAP and Watson And to All Other Defendants
With Respect to Drugs That Were Not Previously Subject to Discovery

Cc Response of Schering-Plough Corporation and Warrick Pharmaceuticals
Corporation to Plaintiffs’ Omnibus Requests For Production and Interrogatories

D August 30, 2006 Letter to John Montgomery from Steve Berman
E September 8, 2006 Letter to Steve Berman from Adam Wright

F 30(B)(6) Deposition of Schering-Plough and Schering Sales dated September 13,
2006

I certify under penalty of perjury that the foregoing is true and correct.

Executed this 22™ day of September, 2006.

{si Steve W. Berman

STEVE W. BERMAN

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CERTIFICATE OF SERVICE BY LEXISNEXIS FILE & SERVE
Docket No. MDL 1456

I, Steve W. Berman, hereby certify that I am one of plaintiffs’ attorneys and that, on
September 22, 2006, J caused copies of DECLARATION OF STEVE W. BERMAN IN
SUPPORT OF PLAINTIFFS' EMERGENCY MOTION TO COMPEL SCHERING-
PLOUGH TO PRODUCE DOCUMENTS AND DATA UNDERLYING CRIMINAL
PLEA AND SETTLEMENT AGREEMENT to be served on all counsel of record by causing
same to be posted electronically via Lexis-Nexis File & Serve.

/s! Steve W. Berman
Steve W. Berman

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EXHIBIT A
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SETTLEMENT AGREEMENT AND RELEASE Sep 6 2006
1. PARTIES

This Senlement Agreement (“Agreement”) is entered into by the United States of America.
acting through the United States Deparment of Justice and the United States Attorney's Office for
the District of Massuchusetis. and the Office of inspector General (70!G-HHS") of the United Sates
Department of Health and Human Services (HIIS7); TRICARR Management Activity
(TMA formerly known as the Office of the Civilian Health and Medical Program of the
Uniformed Services). a field activity of the Office of the Secretary of Defense. the United Srates
Department of Defense: the Office of Persennel Management (“OPM"). which administers the
Federal Employees tlealth Benefiis Program (TEHBP™), Schering-Plough Corporation
CSeheringe”}) a New Jersey Corporation with a principal place of business in Kenilworth, Now
Jersey. and ils subsidiaries and divisions. including Schering Sales Corporation. through their

authorized representatives. Collectively. all of the above shall be referred to as “the Parties.”

A WIHEREAS. at all relevan) Umes, Schering distribured. morkeredd aud soll
pharmaccubenl products in the United States. inchaling the foliawing preseription drug products
(1) loratadine mpidly dissolving tablets, a non-sedating antihisiamine, marketed under the brand
mme Claritin Redi-Jabs: (2) potassium ehloride 20 meq. an electrolytic and water dilanee avent.
marketed under the brand name K-Dur 20: (3) temozelomide, a chemotherapeutic avent, marketed
under the brand name Temodar: (1) interferon alla-2b, a biologic, marketed under Mie branc neme
Intron A: (5) pegylated interleron alfa-2b, a bivlogic. marketed under the brand nume PEG- Intron:

(6) interleron aia-2b marketed topether with ribavirin. a nucleaside analowuc, under the brand name

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Rebetron; and (7) peevialed interferan alfa-2b marketed logether with ribavirin as PEG-Intron
Combination Therapy (collectively. “the drips”), Schering sold the drugs lo various cuslomers
including, among others. health mainienance organizations (HMOs7), hospilu}s. lone term care
providers, chain pharmacies. specialty pharmacies. and physicians. One of the HMOs to wnich
Schering sold drugs was Kaiser Permanente Medical Care Program {"]Caiser”}.

B. WHEREAS, Schering Sales Corporation. s wholly awned subsidiary of Scherinu-
Plough Corporation, has agreed to emer into a plea agreement with the United States Attomey for
the District of Massachusetts (the “Plea Agreement}, under which, if (he Plea Apreement is
approved by the Court, Schering Sales Corporation will enter a plea of guiley pursuant to Fed. R.

Crm, Police tC) to an Information to be fled in United Stas of America v. Scheriow Sules

Tarporation (District of Mussachuseisp(the “Criminal Action”) that will allege that Schering Sales

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Comoration violated Title 18, Gnited Sintes Code. Section 371. hy conspiring to make Jalse
statements in vielaion of Title 18, United States Code. Section 1001. to the Mealth Care Financing
Administration CHCEA' Tin connection will Schering’s best price for Claritin Redi-Tabs for second
quarter 1998 through fourth quarter 1999, and lo the United Stites Food and Drug Administration
(CF DAT) im response to an inquiry by the FDA in [idly 200] regarding Schering’s off-label marketing
aclivilies,

[Redacted]
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D. WHEREAS, at all material times, Schering participated in the Medicaid Rebate

Program, 42 U.S.C. § 1396r-8, which is pan of the federal Medicuid Program. Tithe XLX of the

Social Security Act, 42 U.S.C. 88 1396-1396v. As a participant in the Medicaid Rebate Program,

Schering entered info. a rebale ugreement with HCFA, currently known as the Centers Jor Medicare

and Medicaid Services ("CMS"). and Schering’s drug producls were covered by stale Medicaid phins

Ihal provided medical assistance for outpatient prescription drugs. 42 U.S.C. $$ 159¢a(an LOAD

1396d(a12) sud 1396r-8(a)01). Unier the Medicaid Rebate Program and rebate agreement with

HICEA, Schering generally agreed: (1) ta repan quarterly to HCPA tis average manufacturer price

and. for single source und innovator multiple source drugs. best price for ils drug products. as

defined by 42 U.S.C. 8§ 1396r-BUK KF) ancl 1 39Gr-8(e)(1(C); andl (i7} to pay quarterly rebates to Lhe
states based gn the product of (a) the units of each dosage form and strength paid for under the State

Medical plan during the rehaty period as reported by the state. and (bb the gremer of the difference

between (he avermpe manufactarer price and best price. ar a minimum rebate percentage of the

average manuhucturer price. as further defined in 72 U8.C. § 1396r-8(e) 1.

L. WHEREAS. at all maderiul times, Schering participated in the Drug Pricmg Program,

12.12.5.C. §256b, which is part of the Public Healt Service (*PHS*) Act. 42 U.S.C. $8 201 -300un-

92. Asa participant in the Drug Pricing Program, Schering entered into an agreement with HES in

connection wih the priging of its druz products sold to entibes such as AIDS drug purchasing

assisknice Provrams, community health centers, hemophilia treatment centers, und disproportionate

hed
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share hospitals. as defined in 42 U.S.C. § 256b(4)(4) (the “PHS entities”). Eonder the Drug Pricing
Program and ils agreement with HHS, Schering generally agreed that the amount that Schering
required the PHS eutities tu pay for drag products would not excecd the average manufacturer price,
as reported by Schering lo HICFA in the previous calendar quarter. minus a specified rebale
percentage thal was derived in part from che Medicaid rebate paid by Schering in the preceding
calendar quarter [or each rug, as further described in 42 U.S.C. § 256b{a).

F. WHEREAS, Schering bas entered into ar will be entering into sepanite seltiement
agreements (hereinafter referred {o as the “Medicaid State Settlement Agreements”) with the states —
which will be recciving settlement funds from Schering pursuant to Paragraph |(8) below for the
Covered Conduct described in Parazraph HM below chereinalter referred to as the “Medicaid
Participating States”).

G.- WHERIZAS. the United States alleees that Schering caused 19 be submitted claims
for payment for the drugs to the Medicaid Programs, eslablished pursuant lo or in councerion with
Tithe NIN of fhe Social Sceurity Act. 42 ULS.C. $8 1996-3960 (ire “Meditaid Program’); and the
United States forther aleees that Schering caused ta be submilied claims for payment for the dig
lo the Medicare Program, established pursuant lo Tile XVOD of the Social Security Act. 3 1395-
1393gee, which is administered by TM bS; the TRICARE Program (formerly known as the Civilian
Health and Medical Program of the Uniformed Services C(CUAMPUS TY. 10 U8.C. 88 1077-b D6,
which is administered hy the Departinent of Defense thrangh the TMA: the FEHBPLS LSC. $8
8901-89 '4zund thal Schering caused purchases of the drugs by the Department of Veterans” Afinirs

CDVA").
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H. WIHEREAS, the United States coniends that it has certain civil claims against
Schering under the Faise Claims Act. 3) U.S.C. §§ 3729-33, the Medicaid Rebus Program, 42
LES.C. § 1596r-8. the Drng Pricing Program. J? U.S.C. § 256h, other federal statutes, andéor
common liw docirines as specilied in Paragraph 2 below for engaging in the follawing conduct:

{i} ‘Fhe United States contends that. from Second Quarter 1998 throuch Fourth

Quarter 1999, Schering knowingly and willfully misreported its best price to HCFA and underpaid
tis Medicaid rebates for Claritin Redi-Tabs by omitting from its determination of best price the free
Claritin Redi-Tabs contingent on future purchases that were provided 10 Kaiser to effectuate an

agreed-upon lower price:

Qi) The United States contends that. from First Quarter 2000 Ihrough Fourth

Quarter 200], Schering knowingly misreporteu its best price to HCFA and underpaid its Medicaid
rebates for Claritin Redi-Tabs by omiuing from its determination of best price deeply discounted

Claritin Redi-Tabs that were provided 1 Kaiser to effectuate an agreed-upon lower price:

Giiy | The United States contends that. from Fourth Quarter 1993 through Fourth

Quarter 2000, Schermy knowingly misreported its best price to WOEA and underpaid its Medicaid
rebates for K-Dur 20 by omitting from its determination of best price the price of K-Dur 2) that was

private labeled for Kaiser:

tiv) The United Sites contends that. from Fourth Quarter 1998 throuwh Sccand

‘Quarter 2002, Schering overcharged the PHS entities for Claritin Redi-Yabs: ane ftom Second
Quarler 1996 through Second Quarier 2001, Schering overcharged the PIIS entities for K-[Dur. as
aresult of Schering’s misreporting of ifs best prices as described in Preamble Paragraphs H {i}, i il)

ant (i), above:

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(¥) The United States contends thal, as par! of Schering’s sales and marketing
pmetices for PEG-Intr, Rebetron, andl PEG-Intron Combination Therapy Jor patients with Hepatitis
C from January 1999 through December 2002, Schering knowingly and willfully offered and pail
egal rentuncration to induce physicians lo starl patients on drug therapy Jor Hepatitis C in viekition
of 42 U.S.C. §1320a-7b(b}(2) through three improper sales and marketing programs: the ReCAP
Program, which paid physicians up to 300 for each patient begun on drug therapy for Heputitis C:
the Physician Assistants (*PA™) Fellowship Program, which placed Scherine-finded physician
assistants in busy physician practices; and Low Quintile Advisory Board programs, whieh paid
physicians for attendance at Schering-sponsored events. Furthermore, the Government conlends that
during (his lime period, Schering knowingly caused the submission of false or Fraudulent claims te
the Medieaid and TRICARE Programs for PEG-Intron, Rebetron. and PEG-Iniran Combination
Therapy, and caused the DVA to purchase PEG-Intron, Rebetron, and PEG-Intron Combination
Therapy by praviding physicians with illegal remuneration through these three programs to inchiee
them tu prescribe these drugs to patients;

(vi) “Lhe United States comtends that. as part of Scheriny’s sales and marketing
practices for Temedar. from September 1999 through December 2003. Schering knowingly and
willfully offered and paid various forms of illegal remuneration 1 physicians and physicians”
pracuces lo induce unlization of Temodar for brain tumors and brain metastases, including, for
examnle. improper preceplorships, advisory boards. emertainment, and placement ofclinical studies
in violation oF42 U.8.C. $1 320a-7bh(b){(2). Furthermore. the Government contends that, luring this
time period, Schering knowingly caused the submission of false or fraudulent claims for ‘Temodar

vo che Medicaid and TRICARE Progranis and caused the OVA to purchase Temodar by providing
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physicians and physicians” practices with ittegal remuneration to induce them to prescribe Temodar
Far patients:

(vii) The United States contends that, during the period September 1999 through
December 2093. Selicring knowingly promoted the sale and use of Temodar for brain metastases andl
certain britin amors (including, specifically, newly-diagnased anaplastic astrocylomas and a ceriain
subset of ehioblastoma multiformes), uses for which the Food and Drug Administration (*FIDA"Y had
not approved ‘Temodar: i... Schering promoted Temodar for “unapproved” or “off-label” uses. The
Goverment further cantends that such off-label marketing violated the Food. Drug & Cosmetic Act
(CF DCAT). 23 U.S.C. 88331 (adand{d). The United States further contends that the nse al F emadar
for brain metastases during this time period. and the use of Temedar for certain brann tumors during.
the portion of this time period prior lo 2002. were not medically-accepled indications, ts defined in
42 US.C. £1 396r-81k (6). and that certain Stu Medicaid Programs could not reimburse these uses.
The Government further contends that Schering knowingly caused the submission of false or
fraudulent claims for Temodar to the TRICARE, FEHMBP. and Medicaid programs for non-
reanbursable uses. and caused the DVA tu purchase Temodar dispensed to patients for unapproved
licaons: and

Wii) The United States contends thal, as part of Schering’s sales and markeling
ptuctices for Intron A Jor superficial bladder cancer from September 1999 through December 2003,
Sehering knowingly and willfidly offered and paid various forms of illegal remuneration to
physicians and physicians” practices to induce the utilization of intron A Tor superficial bladder
eancer including. for example. improper preceptorships. advisory boards. entertainment, and

placement of clinical studics in violation of 42 U.S.C. § [320a-7b(b\(2}. and encouragement of
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improper billing by physicians of Intron A vial overfill and frec drugs. The Government farther
contends that Schering promoted Intron A for superficial bladder cancer although Schering did not
have approval fram the PDA for use in that indication. Furthermore, the Goverment contends dal
during this time period. Schering knowingly caused the submission of false or fraudulent claims to
the Medicaid. Medicare. and TRICARE Programs for Intron A and caused ihe DVA to purchise
Jntron A by inducing physicians to prescribe it ta patients with superficial bladder cancer by
providing them with such illegal remuneration.

Schering’s conduct as described in the Information in the Federal Criminal Action and
Preamble Paragraph H is hereafler referred to as the “Covered Conduct.”

[Redacted |

ony

L. WHEREAS, AIIS-O1G contends that it bas certain administrative claims against
Schering, a8 speeilted in Paragraphs 4 and 5 below, lor engaging in the Covered Conduct.

i. WIIEREAS. this Agreement is neither an admission of facts or abiliy by Schering.
with the exception of such admissions as Schering Sales Corporation makes in connection with a
guilly plea tw the Information refereneed tn Paragraph B above. nora concessiun by Lhe Goverment
that its claims are not well founded.

K, WHEREAS, to avoid the delay expense, Incanvenience, and uncertainty of protracted
iiigation of these claims. the Parties mutually desire lo reach a full and final seulement as set forth

below.
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1]. TERMS AND CONDITIONS

NOW. THEREFORE, in reliance on the represeniations cantained herein and in
consideration of the mutual pramises. covenants, and obligations set forth below in this Agreement,
and for good and valwable consideration as slated herein. the Parties agree as fatlows:

i. Schering agrees lo pay to the United States. the Medicaid Participating States, and
the PHS entities, collectively, Uke sam of yo hundred filty-five million Qventy-five thousand, eighty
nine dollars and sixty cents (3255.025.089.60}. plus interest in un amount of 4.292% per annum on
the Federal Setlement Acivunt and Medicaid State Sevlement Amount as further set forth in
subparagraphs A and B below ($29.527 per day) (rom July 27. 2005 and conlinuing until and
tocinding the day belere complete payment is made (the “Seaement Amuunt’). This sunt shail
constitute a debt inunediately due and! owing t the United States and the Participating States on the
Fivective Date of this Agreement. This debt is to be cischarecd by payments {1 the Lindied States
and the Medicaid Participating Stars, uider the lollowing conditions:

A. Schering shall pay to the United Staes the sum of one Iindred flty-nine
nullion five hundred two thousand dollars (159.502.0005, plus interest nan amount of 4.292% per
annum ($18,756 per day) trom July 27. 2005, and continuing until and including the day before:
complete payment is made (le “Federal Settlement Anount’).

[Redacted]

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B. Schering shal! pay to the Medicaid Participating States the sum of ninely-one
million. six hundred two thousand dollars (39,602,000), phis interest in an amount of 4.292%, per
anmum (210,771 per day) from July 27, 2005, unt and including the day before complete payment
is paid (the “Medicaid State Settlement Amount’) under the ienns and conditions of the Medicaid
Sue Schlement Avreements. ‘Fhis Medicaid State Setlement Amount shall be paid into an interest

hearing account as set forth in the Medicaid State Seulement Agreements no later than seven

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business days alter Schering receives written payment instructions from the National Association
of Medicaid Fraud Control Units’ Setflement Team for the Medicaid Participating States and
following the latest of the dates on which the following occurs: (1) this Agreement is fully executed
by the Parties and delivered to Schering’s attomeys. or (2) the District Court accepts the Fed. R.
Crim. P. 11¢0)(1C) guilty plea in connection with the Criminal Action and imposes the agreed upon
sentence. The Medicaid Stale Settlement Amount shall be paid to the Medicaid Participating States
from the uecount following execution of the Medicaid State Settlement Agreements with all the
Medicaid Participating States. ar at any carlier date as otherwise agreed in writing between Schering
and the National Association of Medieaid Fraud Control Units” Settlement Team,

C. Schering shall pay to the PHS entilics the sum of three million nine hundred
Iwenty-ane thousand eighty nine dollars ane sixty cents ($3,921.089.60) Che “PHS Setdement
Amount”). Schering agrees to present for review and audit the underlying caleukuions used 1
determine the correct price(s) for the PHS entivies during the relevant time periods. Schering azrees
that iFitis determined tha Schering owes any additiana! amounts (o any PHS entity. based upon the
allepations in the Covered Conduct, Schering agrees to pay any additional amotmt required to mare
that enttiy whole. The PHS Settlement Amount shall be paid hy Schering to cach affeeted PHS
enuly by check within sixty (60) days (lowing the latest ofthe dates on whieh the following occurs:
(1) thts Agreement is fully executed by the Parties and delivered to Schering’s atlorneys. or (2) the
District Court acecpts the Fed. R. Crim, P. 1 1{c)(1)(C) guilly plea in connection with Ihe Criminal
Action and imposes the agreed upon sentence.

Dd. HW Schering Sales Corporation's agreed upon guilty plea pursuant io Fed. R.

Crim. P. U1 (e1(C) in the Criminal Action deseribed in Preamble Paragraph 3B is net accepted hy
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the District Court or that Court does net impose the agreed upon sentence for whatever reason. this
Agreement shall be nuil and veid at the option of either the United States or Schering, Heilher the
United States or Schering exercises this option, which option shall be exercised by notifying all
Partics, through counsel. in writing within five business days of the District Court’s decision. the
Parties wil] not object and this Agreement will be rescinded. IF this Agreement is rescinded.
Scheting will not plead, argue er otherwise raise any defenses under the theories of statute of
limitations, laches. estoppel or similar theories lo any civil or administrative claims. actions or
proceedings which are brought by the United Scues within 90 calendar days of notification to all
other Partics of thal rescission, except to the extent such defenses were available before February 5,
2003.

2. Subject lo the exceptions in Paragraphs 3, 4. 6 and 7 helow. and in consideration of
the obligations of Schering sei forth in this Agreement, condiiioned upon Schering’s paynrent in fa!
af the Setdement Amouni. subject 10 Paragraph 16 below (concerning bankruptcy proceedings
commenced within 91 days of the Effective Dale of this Agreement or any payment under this
Agreement}, and subject to the acceptanee by the United Sues District Court for the District of
Massachusetts of Schering Sales Corporation's guilty plea deseribed in Preamble Paragraph B, the
United Stites, on behal fofitsell. and its officers. agents, agencies. and departments, agrees 1o release
Schering. jis predecessors. and its current and former parents. affiliates, divisions, subsidiaries,
successors and assigns, and their current and former directors, officers . and employees, Irom any
civil or administrative monetary claim thal che United Saues has or may have under the False Claims
Ach 37 GS-0. 88 3729-35: the Food Drug and Cosmetic Act, 21 U.S.C. 88 33 ba), 33 Waly and 332:

the Provram Fraud Civil Remedies Act. 31 U.S.C. §§ 3801-12: the Medicaid Rebate Statute, 12
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LLS.C, § 1396r-8: the Brug Pricing Program, 42 U.S.C. § 256b: the Civil Monetary Penalties Law,
42 US.C. § 1520a-7a; any statutory provision applicable to federally-funded programs in this
Agreement for which the Civil Division, Department of Justice has actual and present authority ta
assert and compromise pursuant to 28 CLF.R. Part O, Subpart L. 0.45(d)}{1995): and common haw
Claims for fraud, unjust enrichment. payment by mistake. or disgorgement for the Covered Conduct,

3. Notwithstanding any term of this Agreement. the United States specifically does not
release any person or entity from any a! the followmy clitms or liabrlities: (a) any eriminal. civtl,
oradminisirative claims arising under Ville 24, U.S. Code Internal Revenne Cade); 1b) any criminal
liability: Ce} any liability to the United States {or any agencies thereof) for any conduct other than
the Covered Conduct: fd) any claims based upon obligations created by this Agreement: (c} excepl
as explicitly stated in this Agreement, any administrative liabiliwy, inclnding mancatory evctusion
from Federal health care programs: (1) any express os implied warranty claims or other claims lor
defective or deficient produels and services provided by Schering: (2) any claims for personal injury
of property damage or for ather consequential damages arising [rom the Covered Conduct, ih any
glaim based on a failure (a deliver items or services duc: or G) any civil or administrative claims
against widividuals. inchuling current and former directors, officers. and employees of Schering, its
predecessors, subsidiaries, anil affiliates, who receive written noulication that they are the larger of
a criminal investiputiun, are criminally indicted or charged, or are convicied, ar who enter into a
criminal plea avreement.

4. In consideration of the obligations of Schering set lorth in this Agreement. and the
Corporate Integrity Agreement and Addendum therety {collectively, “CLAY, conditioned on

Schering’s payment in ful) ofthe Settlement Amount. and subject to Paragraph 16 betow (coneeming
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bankruptcy prucecdings commenced within 9! days of the effective date of this Agecement or any
payment under this Aureement). OIG-HHS agyees to release and refrain from instituting, directing,
or maintaining any administrative action secking exclusion from the Medicare, Medicaid, or ather
Federal health care programs (as defined in 42 U.S.C. § 1320a-7b(1)) against Schering, and except
for Schering Sates Corporation, its predecessors, and jis current ar former parents. affiliates.
divisions, subsidiaries. successors, and assigns, under 42 U.S.C. § 1320a-7a (Civil Monetary
Penalties Law). or 42 U.S.C. $ 1520a-7(bX(7) (permissive exclusion for fraud, kickbacks ar other
prohibited activities). for the Covered Conduct. except as reserved in Paragrapl 3 above, and as
reserved in this Paragraph. The O1G-HHS expressly reserves all rights to comply wath any statutory
obligations lo exclude Schering from the Medicare, Medicaid. or other Federal health care pragram
under 42 U.S.C. § 1320a-7(a) (mandatory exclusion) based upon the Covered Conduct. Nothing in
this Paragraph preeludes the O1G-HIS Irom tking action against entities or persons, or for conduct
and practices. for which einims have been reserved in Paragraph 3 above.

3. In conipromise and setlement of the rights of OIG-HIES to exchide Schering Sales
Corporation pursuant to 1? U.S.C. § 1320a-7ia) (mandatory exclusion for a criminal offense
reluled to the delivery of an ilem or service under Medicare or Medieaid) hased on the Plea
‘Agreement described in Paragraph 1.3. above, and pursuant io 42 U.S.C, § 1320a-7(b)(7) based on
the Covered Conduct described in Paragraph ILH above, Schering Sales Corporation agrees to he
permanently excluded under these statutory provisions from Medicare. Medicaid, and all other
Federal health care programs as defined in #2 WS.C. § 1320a-7b(1). Such exclusion shall have
nalionai effect and shal! alse apply to all other federal procurement and nonproeurement programs.

Federal! health care programs shall net pay Schering Sales Corporation or anyone else for items or
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services, including adntinistralive and management services, furnished. ordered, or prescribed by
Schering Sales Corporation jn any capacity while Schering Sales Corporation is excluded. This
payment prohibilien applies to Scherinu Sales Corporation and unyone who employs or contracts
with Schering Sales Corporation. The exclusion applies regardless of who submits the claims vr
olher request fer payment. Schering Sales Corporation shall nor submil or cause to be submitted to
any Federal health care program any claim or reques! for payment for lenis of services, Including
administrative and management services. furnished, oretered, or prescribed by Schering Sales
Corporation during the exclusion. Violation of the conditions of the exclusion may result in criminu!
prosecution and imposition of civil monetary penalties and assessments. Schering Sales Carporation
Further aerees tu hold the Federal health care programs, and all federal beneliciaries andor sponsurs.
harmless Jrom any Gnancial responsthility Jor goods or services furnished, ordered. or prescribed to
such benefictaries of sponsors during the exclusion, Schering Sales Corporation waives any Jurther
notice el the exclusion and aprees nol ta contest such exclusion either administratively or in any siale
or federal court. Schering Sales Corporation has been excluded since Octuber 20. 2005, and the
exclusion, as set Torth in dis Pieagraph. shill continue permanently hereafter.

G. In considerition of the obligidions af Schering set forth in this Agreement,
conditioned upon Sehering’s full payment of the Setdement Amount. and subject to Paragraph 1G
below. (concerning bankrupiey proceedings commenced within 9L days of the elicetive date of this
Agreement ar any payment under this Agreement). TMA agrees to release and refrain Jrom
nslituling. directing. or maintaining any administrative action seeking exclusion or suspension fron
ihe TRICARE Program against Schering, its predecessors. is current or former parents. alfilictes.

divtstons, subsidiaries. sucecssors and assiens. and their current and fonner directors. officers . and

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employees. under 32 C.F.R. § 199.9 for the Covered Canduet, except as reserved in Paragraph 3
shove. and as reserved in this Paragraph. TMA expressly reserves its authority under 32 CLELR. §
199.9000) G)(A) and (ACB) based upon the Covered Conduct, and under 32 CAFR. §
199.947 DC) ifaay entity Is excluded by OIG-HHS pursuant to 42 ULS.C, § 1320a-7{2). Nothing
in this Paragraph precludes TMA or the TRICARE Program from taking action agains! entities ar
persons. or for conduct and practices. for which elaims have been reserved in Paragmph 3, ahove.

7, hy consideration of the ablizations uf Schering set forth in this Agreement.
conditioned upen Schering’s full payment of the Sewemem Amount. and subjeet to Paragraph 16
below (concerning bankruptcy proceedings commenced within 21 days of the effective date af dris
Agreemem! or any payment under Us Agreement), OPM agrees to release and refrain trom

instiniting, direcling. or maintaining any administrative action seeking deharment from FELBP

a1

successors and assivns, and their current and farmer directors, officers . and employees, under
U.S.C. § 89020 or 5 CAR. Parl 890 for the Covered Conduct, except as reserved in Paragraph 3
above, and except Pexcluded by the OIG-HHS pursuant to 42 UL8.C. $ 1320a-71a). Nothing in this
Poragraph precludes OPE from taking action usainst entities or persons. er for conduct aod
practices. for which claims hive been reserved in Paragraph 3. above.

8. The Parties each represent that this Agreement is freely and voluntarily entered inte
withoul any degree of duress or compulsion whatsoever,

Q. [Redacted]
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19. Schering waives ane shall not assert any defense il may have to eriminal prosecution
or alministralive action relating ta the Covered Conduct. which defense may be based in whole or
In part on a contention that. under the Double Jeopardy Cluuse of the Fifth Amendment of the
Constitution ar the Excessive Fines Cliuse of the Eighth Amendment af the Constitution. ibis
Agreement bars a remedy sought in such criminal prosecution or administrative action,

1). In consideration af the obligations of the United States set forth in this Agreement,
Schering, on behalf of aiselfand its predecessors. its current and former parcnls, alliliates, divisions,
subsidiaries, successors and assigns fully and finally releases. waives and discharges the United
Slates, its agencies, employees, servants, and agents fram any elaiins (includiny attorneys Ives.
cosis. and expenses of every kind and hawever denaminated) which Schering has asserted. could
have asserted, armay assert in the future against the United Slates, its agencies, employees, servants,
and azents, relalvd ta or arising Trom ihe Uailed States* investigation und prosecution af [Recacted |.
the Federal Criminal Action. and the Covered Conduct.

12. ‘The Settlement Amount that Schering must pay pursuant lo Paragraph J above will

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nol be decreased as a result of the denial of claims Jor payment now being withheld from payment
by any State or Federal payer. related to the Covered Conduct; and, iFapplicable, Schering azrces
not io resubmil to any State and Federal payer any Previously denied claims, which denials were
based on the Covered Conduct, and agrees nol to appeal or cause the appeal of any such denials of
claims.

13. Schering agrees to the following:

a. Lnullowable Costs Defined: that all costs (as defined inthe Federal

Acquisition Regulation (PAR™). 48 C.F.R. § 31.205-47 and in Titles XVIP and XIX of the Social
Security Act, 42 0.5.0, §§ 1395-1595 e¢eu and 1396-1396v, and the regulations and oficial program
directives promulpaled thereunder) incurred by or on behalf of Schering, ils predeecssars. parents,
divisions. subsidiaries. or affiliates, and its present or former officers. directors, employees. and
agents in connection with: (1) the matters covered by this Agreement and the related Plea
Agreement; (2) the United States’ audit and civi) and criminal investization relating te matters
covered by this Agreement: (3) Schering’s investigation. defense. and any corrective actions
udderiaken in response Lo the Untied States” civil and criminal inveslizations in comection with ue
maters covered by this Agreement tincluding attorneys” fees): (4) he negetiation and perloermance
of this Agreement, the Plea Agreement. and the Medicuid State Setement Agreement: (3) the
payments made to the United Stales or any State pursuant to this Agreement. the Plen Agreement.
or the Medicaid State SetUement Agreement and Release and any payments that Schering may make
[Redacted]; and (6) the negotiation of and obligations undertaken pursuant lo the CIA to: (a) retain
an independent review organizauan lo perform annual reviews us described im Section 1) ofthe CIA;

and (b} prepare and submit reperts to the OUG-TIHS, are unallowable costs on Goverment contracts

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“with DVA and other agencies and under the Medicare Program. Medicaid Program. TRICARE
Program. and FEH BP. Mowever. nothing in this Paragraph affects the status of costs thal ure nol
alowable based on any other authority applicable to Schering, (All costs deserihed o¢ set forth in
this Parauraph are hereafter. “Unallawable Cosis”).

b. Eulure Treatment of Unallawable Casts: Lf applicable. these Unallawabte

Costs shall be separately estimated and accounted for by Schering and Schering shall nal charge such
Unahowable Costs direcily or indirectly to any contracts with the United States or any State
Medicaid program. or seck payment for such Unallowable Costs through any cost report. cost
statement. informition skiktmenl, ar paynent request submitted by Sebering. tts predecessors.
divisions. subsidiaries. ar affiliates la Medicare, Medicaid, TRICARE. FEHBP or D¥A,

a. ‘Trealment of Unollawable Costs Previously Submited fer Payment: if

applicable, Schering further yrces that within 60 days of the Elfective Date of this Agreenrent, tt
shall identify to applicable Medicare and TRICARE fiscal intermediaries, carriers. andfor
contractors, and Medicsid, DVA, and FEHMBP fiscal agents. any Unallowoble Costs tas defined in
this Paragraph) inchided in payments previously sought trom the United States, er any Siig
Medicaid Program, including. but not limited la, payments sought in any cost repurts. cost
stalernents. information reports. or payment requests already submitted hy Schering. ils predecessors,
parents. divisions. subsidiaries, or alfiliates ond shall request. and agree, (hat such cost reports, cost
staiements, information reparis, or payment requests, even ifaiready setwed, be acljusted to accaunt
for the effect of the inelusion of the Unallowable Costs. Schering agrees that the United States, at
a minimum, shall be entitled 19 recoup from Schering any overpuyment. plus applicable interest and

enitlties. as a resull of the inclusion of such Unallowable Cosis an previously-submilled cas!
P | )

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reports, information reports. cost statements. or requests for payment. Any payments due afer the
adjusiments have been made shall he paid to the United States pursuant to the direction of the
Department af Justice. anor the affected agencies. The United States reserves its rights io disagree
with any calculations submitted by Schering or ils parents, divisions, subsidiaries or aliliates on the
elfect of inclusion of Unatlowabie Costs on Schermg or its divisions, subsidiaries or alfitintes” cost
reports, cost stattinenis. oc information reports. Nothing in this Agreement shall constitute a waiver
of the sights of the United States io examine or re-examine the Unallowable Costs described in this
Paragraph.

I. Schering agrees that 11 shal) not scek payment tor any of the health care billings
covered by this Agreement from any health care heneliciaries or (heir parents. sponsors. Ievally
responsible individuals, or third party payors. Schering waives any causes oF action aegins. these
beneficiaries or their parenis, sponsors, legally responsible individuals, or third party payors hased
upon the elainis far payment covered by this Agreement.

15.0 Schering expressly warrants that iChas reviewed its Ainanctal condition and (hat it is
currently solvent within.the meaning of | PULS2C. 88 $4 7eby 3) and 5-18 (a)(B G7. aad shall remain
sulvent following payment of the Seitflement Amount, Further, the Parties expressly warrant that,
in evaluating whether fo execute this Agreement, the Parties (a) have intended that the mutual
promises, covenants, and obligations set forth herein constituic a contemponinceus exchange fornew
value viven to Schering within the meaning of 1] U.S.C. 8 547(e)(1}, and (b) have concluded that
these mutual promises. covenants and obligations do, in faci, constitute such a comlemporaneous
exchanee.

16, In (he avent Schering commences. or another party commences. within)! days of the

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Effective Date of this Agreemenl or any payment made hereunder, any casc, proceeding. or other
action under any Jaw relating to bankruptcy, insolvency, reorganization, or reliel of debtors (a)
seeking lo have any order lor relic! of Schering’s debls. or seeking to adjudicate Schering as
bankrupt or insolvent, or (b) seeking appointment of a receiver. trustee, custodian or other simifar
official for Schering or lor all or any substantial part of Schering’s assets, Schering agrees as follows:

a. Sehering’s obligations under this Avreement may not be averted pursuant
10.1] ULS.C. §§ 317 ar S48, and Schering shail not argue or olherwise Gike he position in any such
case. proceeding ar action that: (7) Schering’s obligations under this Agreement! may be avoided
under 1) U.S.C. §§ 547 or 548; (i) Schering was insolvent at ihe ime this Agreement was entered
info, oy became insulvent as a result of the payment made to the United States hereunder: or ciik) the
Tua) promises. covenants, and obligations ser forth in this Agreement do not censtitule a
contemporanenus exchanze for new value given ia Schering,

bh. If Scherine’s obligations under this Agreement are avoided for any reason.
inchuding, bin not limited to. Through the exercise of a trustee’s avoidance powers under Ue
Bankniptcy Code. the United States. at its sole option. may reseind the releases provided! mn uiis
Agreement, and bring any civil andor administrative claim. action or proceeding auinst Schering
for the claims that would otherwise be covered by the releases provided in this Agreement IP ihe
United States chouses to co su, Schering agrees that for purpases only of any claims. aclions or
proceeding refereneed in this Grst clause of this Paragraph (i) any such elms, actions. or
proceedings brought by tbe United States Cineluding any proceedings to exclude Schering rom
participulion in Medicare, Medicaid, or other Federal health care programs) are not subject to an

“amlomalie stay” pursuant to 11 ULS.C. § 362{a) as a result of the action. ease. or provecding
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described in the first clause ofthis Paragraph. and that Schering shall nol argue or otherwise contend
thatthe United States” claims, actions, or proceedings are subject 10 an aulamatic slay: (i7) Schering
shal] nov plead, argue. or otherwise raise any defenses under the theories of statuc of limitations.
laches, estoppel, or similar theories, to any such civil or acniniswative claims. actions. ar
proceedings which are brought by the United Stales within 90 calendar days of writlen notification
ta Schering that the releases herein have been rescinded pursuant to this Parayraph. except to the
extent such defenses were available before February 5, 2003: and (37) the United States and the
Paruicipaling Sales aave a valid clam against Schering in the amounl of two hundred fifty-five
mmiflion Gwenly five thousand cighty nine dollars and sixty cents ($253.075 089,60) plus applicable
multipliers and penallies and they may pursue their claims. inter alia, in the ese. action. or
proceeding relerenced in the first clause of this Paragraph, as well as in any other ease, action or
proceeding: and

c. Schering acknowledges that is agreemenis in this Parugraph are provided in
exchange lor valuable consideration provided in this Agreement.

12. lixcepl as athervise sued in this Agreement, his Agreement is intended to he for
the benefit wf the Parties only. and by Uris instrument che Parties de not releuse any clainis against
amy other person or enuly.

18. Nothing jn this Agreement constitutes an agreement by the United States concernine:
the characterization of the amounts puid hereunder for purposes af the Wternal Revenue lows, Tile
26 of the United States Code.

19. Rach party to wis Agreement shail bear its awn legal and other coasts inctrred in

connection with this matler, incliding the preparation and performance of this Agreement.
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 27 of 59

20. 9 This Agreement is governed by the laws ef the United States. The Parties agree that
the exclusive jurisdiction and venue forany dispute arising between and among Lhe Parties under this
Agreement shill be the United States District Court for the Disuict of Massachusetis
{Redacted]
excepl that disputes rising under the CLA shall be resolved exclusively through the dispute resolution
provisions set forth in the CIA.

21. [Redacted]

~~

72, ‘Fhe undersigned Schering and Schering Sales Corporation signatories represent and
warrant that they are auchorized by their respective Bourd of Directors to execule this Agreemeni.
The undersigned United Stales signatories represent [hat they are signing this Agreement in their
official capacities and they are authorized to execute this Agreement on behalf of the United States
through (heir respective agencies and deparuments.

23. The “Effective Dale” of this Agreement shall be on the date al signature y€ Lhe last

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 28 of 59

signatory to the Agreement. Facsimiles of signatures shall constitute acceptable binding signatures
for purposes of this Agreement.

24. This Agreement shail be binding on all successors, transdérees, heirs, and assigns of
the Parties.

25. This Agreement shall not be amended except by written consent of the Parties, except
that only Schering and O1G-HHS must agree in writing to modification of the CIA, without the
consent of any other party lo this Agreement or the Plea Agreement.

26, Schering hereby consents to the disclosure of this Agreement and information about
this Agreement by the United States to the public.

27. his Agreement may be executed in counterparts, each of which shal! consutute an
original and ail of which shall constitute one and the same Agreement

UNITED STATES OF AMERICA

Dated: fea feb

SUSAN WINKLER
JENNIFER BOAL

GREGG SHAPIRO

Assistant GS. Altomeys
United Siates Ailorney’s Office
District of Massachusetts

Dated:

ANDY J. MAO
Tria] Attorney, Civil Division
United States Department of Justice
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 29 of 59

signatory to the Agreement. Facsimiles of signatures shall constitute acceptable binding signatures
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that only Schering and O1G-HHS must agree in writing to modification of the CIA, without the
consem of any other party to this Agreement or ihe Plea Agreement.

26. Schering hereby consents to the disclosure of this Agreement and information about
this Agreement by the United States 10 the public.

27. This Agreement may be executed in counterparts, each of which shall constitute an
original and al] of which shall constiture one and the same Agreement

UNITED STATES OF AMERICA

By: Dated:

SUSAN WINKLER
JENNIFER BOAL

GREGG SHAPRO

Assistant U.S. Aitameys
United States Attomey’s Office
District of Massachusetts

By:

Dated: ¥/22/o c

NPY J. MAO
Trial Attomey, Civil Division
United States Department of Justice

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TOTAL F, ae
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 30 of 59

By:

pact 5/22 [ee

United States Department 0 of Justice

Dated:
GREGORY E. DEMSKE

Assistant Inspector General for Legal Affairs

Office of Counsel to the Inspector General

U.S. Department of Health and Human Services

Dated:
LAUREL C. GILLESPIE

Deputy General Counsel

TRICARE Management Activity

United States Department of Defense

By: Dated:

KATHI-EEN McGETTIGAN

Deputy Associate Director

Center for Retirement & Insuranec Services
United States Office of Personnel Management

Dated:

J. DAVID COPE
Assistant Inspector General for Legal Affairs
United States Office of Personnel Management
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 31 of 59

By: Dated:

EUGENE THIROLF
Director, Office of Consumer Litigation
United States Department of Justice

By: 7 Daled: & & s/og
GREGORY E. DEMSKE
Assistant Inspector Gencral for Legal Affairs

Office of Counsel] to the Inspector General
U.S. Department of Health and Human Services

By: Dated:

LAUREL €. GILLESPIE

Deputy Genera] Counsel

TRICARE Management Activity
United Statics Department of Defense

Dated:

ATHLEEN M GAt
Deputy Associate Direclor
Center for Retirement & Insurance Scrvices
United States Office of Personnel Management

Dated:

1. DAVID COPE
Assistant Inspector Genera! for Legal Affairs
United States Office of Petsonnel Management

25
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 32 of 59

By: Dated:

EUGENE THIROLF
Director, Office of Consumer Litigation
United States Department of Justice

By: SEPA eR aRL Er Dated:
GREGORY E. DEMSKE

Assistant Inspector General for Legal Affairs

Office of Counsel to the Inspector General

U.S. Department of Flealth and Human Services

By: Dated: 3

C. GILLESPE 7 AL RAE
Deputy General Counsel
TRICARE Management Aclivily

United States Department of Defense

SERA ee RARE Dated:
KATHLEEN McGETTIGAN
Deputy Assocrate Director

Center for Retirement & Insurance Services
United States Office of Personne) Management

By:

By: Dated:

J. BAVID COPE
Assistant Inspector General for Legal Affairs
United Stales Office of Personnel Managernent

Schering-Plough Coxporation - Civil Sectlement Agreement
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 33 of 59

By: Dated:

EUGENE THIROLF
Director, Office of Consumer Litigation
United States Department of Justice

By: Dated:

GREGORY E. DEMSKE
Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General

U.S. Department of Health and Human Services

By: Dated:

LAUREI. C. GILLESPIE

Deputy General Counsel

‘TRICARE Management Activily
United States Department of Defense

By:

Dated: ofa. ob

KATHLEEN McGETTIGAN
Deputy Associaté Directo
Center for Retirement & Insurance Services

United States Office of Personnel Management

eee eats Dated: sfo-s| o
J. DAVID COPE C
Assistant Inspector General for Legal Affairs

United States Office of Personnel Management

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un
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 34 of 59

SCHERING-PLOUGH CORPORATION

Dated: af us] lo

Executive Vice Presidepi and General Counse}
Schering-Plough Corporation

By: Spee ee ee Dated: -
BREEN O’CONNOR 3) a jf 0
JOAN MCPHEE
JOSHUA LEVY
Ropes & Gray
Counsel io Schering-Plough Corporation

SCHERING SALES CORPORATION

By: Rea Dated:

BRENT SAUNDERS ¢] RS 0
President

Schering Sales Corporation

By:

BRIEN O’CONNOR

JOAN MCPHEE

JOSHUA LEVY

Ropes & Gray

Cennsel io Schering Sales Corporation

Dated: </ 25 Ole
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 35 of 59

EXHIBIT B
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Ho

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY _?)
AVERAGE WHOLESALE PRICE ) MDLNo. 1456
LITIGATION )
} CIVIL ACTION: 01-CV-12257-PBS
)
THIS DOCUMENT RELATES TO } Judge Patti B. Saris
01-CV-12257-PBS AND 01-CV-339

PLAINTIFFS' OMNIBUS REQUESTS FOR PRODUCTION AND INTERROGATORIES
TO DEFENDANTS ABBOTT, AMGEN, AVENTIS, BAXTER, BAYER, BOEHRINGER,
BRAUN, DEY, FUJISAWA, NOVARTIS, PFIZER, PHARMACIA, SICOR, TAP AND
WATSON AND TO ALL OTHER DEFENDANTS WITH RESPECT TO DRUGS
THAT WERE NOT PREVIOUSLY SUBJECT TO DISCOVERY

Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and LR D. Mass.
26.5 and 34.1, and pursuant to case management orders of this Court including the March 25,
2004 Order, the plaintiffs hereby request that each defendant produce the documents requested
herein in compliance with the March 25, 2004 Order.

Prior to the Court’s March 25, 2004 Order, several defendants commenced production for
specific drugs pursuant to prior document requests. This Omnibus Request does not seek
production of documents to the extent that such documents were both previously requested and
actually produced by a defendant.

I. DEFINITIONS

1. “Agreement” means a contract, arrangement or understanding, formal or informal,
oral or written, between two or more persons.

2, “All documents” means every document and every non-identical copy known to
you and every such document or writing which you can locate or discover by zeasonably diligent
efforts, including, but not limited to, documents now in the possession, custody or control of a
defendant, its merged or acquired predecessors, its former and present directors, officers,
counsel, agents, employees and/or persons acting on its behalf.

3. “AMCC” means the Amended Master Consolidated Complaint.

4. “AMP” or “Average Manufacturer Price” shall have the meaning set forth in 42
U.S.C. § 1396r-8(k)(1).

5. “Any” means one or more.

6. “ASP” means average sales price,
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(g) The full name and address of each entity purchasing the AWPID (and, in addition,
the full name and address of the parent company where the database or documents identify a
subsidiary, corporate affiliate, division, satellite office, or warehouse),

26. For each of your AWPIDs, all documents that reflect the prices charged to, or
terms of conditions of sale for, purchasers of the AWPID including, but not limited, to:

(2) | The wholesale acquisition price or other published price of the AWPID or any
generic equivalent;

(b) Payment terms;

=] (c) discounts, rebates, chargebacks or other adjustments offered to any class of
purchaser;

{d) Prices and terms of sales for wholesale purchasers:

(e) Prices and/or discounts and/or rebates or other adjustments for chain pharmacy
purchasers;

( Prices and/or discounts and/or rebates or other adjustments for hospital
purchasers;

(g) Prices and/or discounts and/or rebates or other adjustments for managed care
purchasers;

(hb) Prices and/or discounts and/or rebates or other adjustments for pharmacy benefit
managers;

(i) Prices and/or discounts and/or rebates or other adjustments for internet
pharmacies;

i) Prices and/or discounts and/or rebates or other adjustments for mail order
purchasers; and

(kK) Prices and/or discounts and/or rebates or other adjustments for any other
purchaser class or subgroup.

27. _ For each of your AWPIDs, documents sufficient to show, in digital or
computerized form, in chronological order:

(a} ‘The date of each sales transaction;

(b) Every discount, rebate, and/or any other adjustment that any customer of D has
received;

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(c) The date each discount, rebate, and/or any other adjustment was given;
(d} The time period covered by each discount, rebate, and/or any other adjustment;

(e) Sales in units by National Drug Code sold, shipped, and/or returned by dosage
form, strength, and package size;

(f) ‘Sales in dollars by National Drug Code sold, shipped, and/or returned by dosage
form, strength, and package size;

(g) Net sales im dollars for each sale;

(h} The name, address, account number, and all other identifying numbers or codes
for the person or entity billed, invoices, and/or credited for the transaction; and

(i) The name, address, account number, and all other identifying numbers or codes
for the person or entity to whom the product was shipped or from whom product returns were
received,

28. For each of your AWPIDs, documents sufficient to identify:

(a) | The published AWP;

(b) AMP;
(c) ASP;
(d) EAC;
(} WAC;
() MAC;

(g) | Earmed margin (difference between AWP and actual product cost);

(h) Documents that indicate whether the AWP, ASP, AMP and Earned
Margin include all rebates, chargebacks, discounts, allowances, credits, administrative fees,
price/votume discounts and any other incentives provided to third parties.

(i) Documents summarizing all rebates, chargebacks, discounts, allowances,
credits, administrative fees, price volume discounts or other incentives.

29.‘ For each of your AWPIDs, all agreements for sale of the AWPID, whether or not
those contracts are with customers who purchased the AWPID directly, including drafts,
correspondence, and supporting detail and data (in computerized form where available),

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 39 of 59

. 30. All documents conceming communications between you and IMS Health (or any
similar entity providing pharmaceutical database information) concerning or relating to any of
your AWPIDs.

31. For each of your AWPIDs, documents sufficient to estimate the number of
patients taking the AWPID over each one year period.

32. For each of your AWPIDs, all documents concerning your actual, potential, or
expected revenues and/or profits from the sale of that AWPID.

33. All documents conceming or relating to the actual or potential impact of the
pricing or reimbursement of any dmg on the quantity of any of your AWPIDs that have been or
might be sold.

34. Documents sufficient to show your per-unit average total cost for each of your
AWPIDs, and the components that make up that figure, including but not limited to raw
materials, manufacturing, marketing, sales and packaging costs.

35. All documents conceming or relating to the difference between an AWP and any
other price for any AWPID.

Category 6:_Inducements

36. All documents describing any discount programs (including but not limited to
volume discounts), rebates, incentives, or penalties for each AWPID.

37. All documents relating to the use or provision of free samples, educational grants,
marketing grants, and payments for specific data gathering or other incentives relating to any
AWPID.

38. All documents evidencing any “credit memos” or credit extended to hospitals,
GPOs or other purchasers of AWPIDs, including but not limited to credit memos or credit issued
via a wholesaler to a purchaser, and/or credit for the purpose of “retumed goods.”

39. All documents setting forth the circumstances in which credit against the purchase
of AWPIDs was or could be given to any hospital, GPO, HMO, physician, wholesaler or other
purchaser of AWPIDs.

40. All documents setting forth the circumstances in which credit against the purchase
of AWP!Ds was or could be given to any hospital, GPO, HMO, physician, wholesaler or other
purchaser of AWPIDs. .

41. —_ All documents relating to or reflecting any payments you gave to providers
relating to any AWPID. (Class A Only)
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f  oaaso4

6. Identify the source of each of the documents produced in response to plaintiffs’
requests for the production of documents throughout this litigation by identifying the person(s)
’ who possessed those documents, the job position of any such individuals, and the division and
department where such documents were located. Ifyou are unable to determine the individual(s)
who possessed the documents, identify the department and division where they were/are located
when produced.

DATED: — March 31, 2004 By 4

Thomas M. Sobol (BBO # 471770)
Edward Notargiacomo (BBO #567636)

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Boston, MA 02110

Telephone: (617) 482-3700

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CHAIRS OF LEAD COUNSEL
COMMITTEE

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 41 of 59

EXHIBIT C
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 42 of 59

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

01-CV-12257-PBS AND 01-CV-339

)
IN RE PHARMACEUTICAL INDUSTRY __)
AVERAGE WHOLESALE PRICE )
LIGITATION ) MDL No. 1456
Civil Action No. 01-12257-PBS
THIS DOCUMENT RELATES TO ) ‘Indge Patti B. Saris
)
)
)
)

RESPONSE OF SCHERING-PLOUGH CORPORATION AND WARRICK.
PHARMACEUTICALS CORPORATION TO PLAINTIFFS' OMNIBUS REQUESTS
FOR PRODUCTION AND INTERROGATORIES

Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, and the Local
Rules of the United States District Court for the District of Massachusetts, Defendants, Schering-
Plough Corporation and Warrick Pharmaceuticals Corporation (collectively “Schering”) by their
undersigned counsel, hereby respond to Plaintiffs’ Omnibus Requests for Production and
Interrogatories (the “Ommibus Requests”; the Requests”) as follows:

PRELIMINARY STATEMENT

1. By responding to the Requests, Schering does not waive or intend to waive:
(a) any objections as to the competency, relevancy, materiality, privilege or admissibility as
evidence, for any purpose, of any documents or information produced in response to the
Requests; (b) the right to object on any ground to the use of the documents or information
produced in response to the Requests at any hearing or trial; (c) the right to object on any ground
at any time to a demand for further responses to the Requests; or (d) the right at any time to

revise, correct, add to, supplement, or clarify any of the responses contained herein.

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 43 of 59

Request No. 26. For each of your AWPIDs, all documents that reflect the prices
charged to, or terms of conditions of sale for, purchasers of the AWPID including, but not
limited, to:

(a) The wholesale acquisition price or other published price of the AWPID or any
generic equivalent; .

(b) Payment terms;

(c) discounts, rebates, chargebacks or other adjustments offered to any class of
purchaser;

(d) ‘Prices and terms of sales for wholesale purchasers;

{e) Prices and/or discounts and/or rebates or other adjustments for chain pharmacy
purchasers;

(8) Prices and/or discounts and/or rebates or other adjustments for hospital

purchasers;

(g) Prices and/or discounts and/or rebates or other adjustments for managed care
purchasers;

(h) —— Prices and/or discounts and/or rebates or other adjustments for pharmacy benefit
managers;

(i) Prices and/or discounts and/or rebates or other adjustments for internet
pharmacies; ‘ ,

(j) Prices and/or discounts and/or rebates or other adjustments for mail order
purchasers; and

(k) Prices and/or discounts and/or rebates or other adjustments for any other
purchaser class or subgroup.

Response to Request No. 26:

In addition to the General Objections set forth above, Schering objects to Request No. 26
on the grounds that it is overly broad and that responding to the Request as stated would be
unduly burdensome. Specifically, Schering objects on the ground that the Request seeks
documents relating to all pricing and sale conditions that fall within eleven categories for each of
the Subj ect Drugs, and producing the requested data will be unnecessarily costly. Schering
further objects to Request No. 26 on the ground that the terms “adjustment” and “discount” are
vague and ambiguous. Schering objects to Request No. 26 to the extent it calls for
individualized data with respect to every purchase and sale of a drug. Subject to these

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objections, Schering will make available for inspection non-privileged electronic data containing

the information called for in Request No. 26 for the Subject Drugs, to the extent that such data

exist.

Request No. 27. For each of your AWPIDs, documents sufficient to show, in digital or _
computerized form, in chronological order:

(a) The date of each sales transaction;

(b) =‘ Every discount, rebate, and/or any other adjustment that any customer of D has
received;

(c) The date each discount, rebate, and/or any other adjustment was given;
(d) The time period covered by each discount, rebate, and/or any other adjustment;

{e) Sales in units by National Drug Code sold, shipped, and/or retumed by dosage
form, strength, and package size;

(f} Sales in dollars by National Drug Code sold, shipped, and/or retumed by dosage
form, strength, and package size;

(g} Net sales in dollars for cach sale;

(h) Thename, address, account number, and all other identifying numbers or codes
for the person or entity billed, invoices, and/or credited for the transaction; and

(i) The name, address, account number, and all other identifying numbers or codes

for the person or entity to whom the product was shipped or from whom product returns were
Teceived,

Response to Request No. 27:

In addition to the General Objections set forth above, Schering objects to Request No. 27
on the grounds that it is overly broad and that responding to the Request as stated would be
unduly burdensome. Specifically, Schering objects on the ground that the Request seeks
documents relating to all pricing and sale conditions that fall within nine categories for each of
the Subject Drugs, and producing the requested data will be unnecessarily costly. Schering
further objects to Request No. 27 on the ground that the terms “customer of D,” “adjustment,”
and “discount” are vague and ambiguous. Schering objects to Request No. 27 to the extent it
calls for individualized data with respect to every purchase and sale of a drug. Subject to these

objections, Schering will make available for inspection non-privileged electronic data containing

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the information called for in Request No. 27 for the Subject Drugs, to the extent that such data

exist.

Request No. 28. For each of your AWPIDs, documents sufficient to identify:
(a) The published AWP;

(>) AMP;
(c) ASP;
(d) EAC;
{e} WAC;
() MAC,

(g) Earned margin (difference between AWP and actual product cost);

(h) Documents that indicate whether the AWP, ASP, AMP and Harned Margin
inchude all rebates, chargebacks, discounts, allowances, credits, administrative fees » Price/volume
discounts and any other incentives provided to third parties.

Gi) Documents summarizing all rebates, chargebacks, discounts, allowances, credits,
administrative fees, price volume discounts or other incentives.

Response to Request No. 28: °

In addition to the General Objections set forth above, Schering objects to Request No. 28
on the grounds that it is overly broad and that responding to the Request as stated would be
unduly burdensome. Schering further objects to Request No. 28 on the ground that documents
concerning AMP are irrelevant and unlikely to lead to the discovery of admissible evidence.
Schering further objects to Request No. 28 on the ground that the terms “ASP,” “EAC,” “MAC,”
“eared margin,” “discount,” “incentives,” and “allowances” are vague and ambiguous. Subject
to these objections, Schering will make available for inspection non-privileged electronic data
containing the information called for in Request No. 28 for the Subject Drugs, to the extent that

such data exist.

Request No. 29, For each of your AWPIDs, all agreements for sale of the AWPID,
whether or not those contracts are with customers who purchased the AWPID directly, including
drafts, correspondence, and supporting detail and data (in computerized form where available).

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documents conceming” various documents. Schering also objects to Request No. 32 to the
extent it calls for documents concerning Schering’s revenues and profits on the ground that those
documents are not relevant and are not likely to lead to the discovery of admissible evidence.

Request No. 33. All documents concerning or relating to the actual or potential impact
of the pricing or reimbursement of any drug on the quantity of any of your AWPIDs that have
been or might be scld.

Response to Request No. 33:

In addition to the General Objections set forth above, Schering objects to Request No. 33

on the ground that it is vague and ambiguous. Specifically, Schering objects to Request No. 33
on the ground that the term “actual or potential impact” is vague and ambiguous. Subject to
these objections, Schering will make available for inspection non-privileged documents
responsive to Request No. 33 for the Subject Drugs, if any such documents exist.

Request No. 34. Documents sufficient to show your per-unit average total cost for each
of your AWPIDs, and the components that make up that figure, including but not limited to raw
materials, manufacturing, marketing, sales and packaging costs.

Response to Request No. 34:
In addition to the General Objections set forth above, Schering objects to Request No. 34

to the extent it calls for documents concerning Schering’s per-unit average total cost and the
components that make up that figure on the ground that those documents are not relevant and are
not likely to lead to the discovery of admissible evidence.

Request No. 35. Atl documents conceming or relating to the difference between an
AWP and any other price for any AWPID.

Response to Request No. 35:

Subject to the General Objections set forth above, Schering will make available for
inspection non-privileged documents responsive to Request No. 35 for the Subject Drugs, if any
such documents exist.

Request No. 36. All documents describing any discount programs (including but not
limited to volume discounts), rebates, incentives, or penalties for each AWPID.

Response to Request No. 36:
In addition to the General Objections set forth above, Schering objects to Request No. 36

on the grounds that it is overly broad and that responding to the Request as stated would be
unduly burdensome. Specifically, Schering objects to Request No. 36 to the extent it seeks “all

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documents describing” various practices. Schering also objects to Request No. 36 on the ground
that the terms “discount programs,” “incentives” and “penalties” are vague and ambiguous.
Subject to these objections, Schering will make available for inspection non-privileged
documents sufficient to identify all volume discounts and rebates for the Subject Drugs.

Request No. 37. All documents relating to the use or provision of free samples,
educational grants, marketing grants, and payments for specific data gathering or other incentives
relating to any AWPID,

Response to Request No. 37:

In addition to the General Objections set forth above, Schering objects to Request No. 37
on the grounds that it is overly broad and that responding to the Request as stated would be
unduly burdensome. Specifically, Schering objects to Request No. 37 to the extent it seeks “all
documents relating to” various practices. Schering also objects to Request No. 37 to the extent it

33 ft

calls for ali documents relating to “‘free samples,” “educational grants,” “marketing grants,” and
“payments for specific data gathering” on the grounds that it would be unduly burdensome to
collect those documents and those documents are not relevant and are not likely to lead to the
discovery of admissible evidence. Schering further objects to the term “incentives” on the
pround that it is vague and ambiguous. Subject to these objections, Schering wili make available

_ for inspection non-privileged documents sufficient to identify all educational grants, marketing
prants, and payments for data gathering for the Subject Drugs.

Request No. 38. All documents evidencing any "credit memos" or credit extended to
hospitals, GPOs or other purchasers of AWPIDs, including but not limited to credit memos or
credit issued via a wholesaler to a purchaser, and/or credit for the purpose of "retumed goods."

Response to Request No. 38:
In addition to the General Objections set forth above, Schering objects to Request No. 38

on the ground that it calls for the production of documents that are irrelevant and unlikely to lead
to the discovery of admissible evidence. Schering further objects to Request-No. 38 on the
: grounds that responding to Request No. 38 as stated would be unduly burdensome.

Request No. 39. Ali documents setting forth the circumstances in which credit against
the purchase of AWPIDs was or could be given to any hospital, GPO, HMO, physician,
wholesaler or other purchaser of AWPIDs.

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Case 1:01-cv-12?257-PBS Document 3133 Filed 09/22/06 Page 48 of 59

Response to Request No. 39:

In addition to the General Objections set forth above, Schering objects to Request No. 39
on the ground that it calls for the production of documents that are irrelevant and unlikely to lead
to the discovery of admissible evidence. Schering further objects to Request No. 39 on the
grounds that responding to Request No. 39 as stated would be unduly burdensome.

Request No. 40. All documents setting forth the circumstances in which credit against
the purchase of AWPIDs was or could be given to any hospital, GPO, HMO, physician,
wholesaler or other purchaser of AWPIDs.

Response to Request No. 40:

In addition to the General Objections set forth above, Schering objects to Request No. 40
on the ground that it calls for the production of documents that are irrelevant and unlikely to lead
to the discovery of admissible evidence. Schering further objects to Request No. 40 on the
grounds that responding to Request No. 40 would be unduly burdensome.

Request No. 41. All documents relating to or reflecting any payments you gave to
providers relating to any AWPID. (Class A Only)

‘Response to Request No. 41:

In addition to the General Objections set forth above, Schering objects to Request No. 41
on the grounds that it is overly broad and that responding to Request No. 41 as stated would be
unduly burdensome. Specifically, Schering objects to Request No. 41 to the extent it seeks “alli
documents relating to or reflecting any payments [made] to providers... .” Subject to these
objections, Schering will make available for inspection non-privileged documents responsive to
Request No. 41 for the Class A Subject Drugs, if any such documents exist.

Request No. 42. All documents evidencing any chargebacks with respect to the sale of
an A WPID.

Respouse to Request No. 42:

Subject to these objections, Schering will make available for inspection non-privileged
electronic data containing the information called for im Request No. 42 for the Subject Drugs, to

the extent that such data exist.

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 49 of 59

SCHERING-PLOUGH CORP. and
WARRICK PHARMACEUTICALS CORP.
By their atto

/
hn T. Montgomery (BBO#352220)
Brien T. O’Connor (BBO#546767)
Crystal D. Talley (BBO#633759)
John R. Therien (BBO#651185)
Ropes & Gray LLP
_ One International Place

Boston, Massachusetts 02110-2624
(617) 951-7600

Dated: April 26, 2004

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Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page500f59——t*#+*w

EXHIBIT D
Case 1:01-cv-12257-PBS Document 3133 Filed 09/22/06 Page 51 of 59

- (~:

Aug 30 2008

8:08PM
Seconeseweon SOBOL SHAPIRO LLP
August 30, 2006

Mr. John T. Montgomery
Ropes & Gray LLP

One International Place
Boston, MA 02110-2624

Re: AWP Pharmaceutical Litigation
MDL 1456

Dear John:

' Plaintiffs have served both document requests and discovery on SPW designed to
contest the production of information that would reveal discounts, inducement, kickbacks
and the like for each of the Subject Drugs. We have searched through our documents,
indexes, and your production, and do not see the production of documents bearing on the
following:

(3) SCHERING overcharged . . ., (4) SCHERING induced
physicians to start patients on Intron-A for Hepatitis C by
paying them remuneration through three marketing programs -
(5) SCHERING induced physitians to use Temodar for
certain patients with brain tuniors and brain metastases and to
use Intron-A for certain patients with superficial bladder
cancer through improper preceptorships, sham advisory
boards, lavish entertamment, and improper placement of
clinical trials. . .

According to the Wall Street Journal, these inducements included paying doctors
up to $500 to start patients on Temodar and Intron-A.

Please identify by Bates number where responsive documents on these subjects
were produced in the MDL.

ATTORNEYS AT LAW SEATTLE LOS ANGELES CAMBRIDGE PHOENIX

CHICAGO

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Mr. John T. Montgomery

August 30, 2006
Page 2
Sincerely,
HAGENS BERMAN SOBOL SHAPIRO LLP
/s! Steve W. Berman
Steve W. Berman
SWB:SLA

cc: Via Lexis on all Counsel

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EXHIBIT E
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ROPES & GRAY LLP SEP 1 i 20
ONE INTERNATIONAL PLACE BOSTON, MA 02110-2424 617-951-7000 F 697-951-7050

RAMAN LLP
BOSTON NEW YORK PALO ALTO SAN FRANCISCO WASHINGTON, DC wir P om

September 8, 2006 Adam Wright
(617) 951-7956
awright(@ropesgray.com

BY FEDERAL EXPRESS

Steve W. Berman, Esq.

Hagens Berman Sobol Shapiro LLP
1301 Fifth Avenue, Suite 2900
Seattle, WA 98101

Re: In re Pharmaceutical Industry Average Wholesale Price Litigation, MDL 1456
Dear Steve:

I write on behalf of Schering-Plough Corporation in response to your letter to John T.
Montgomery dated August 30, 2006, your letter to all defense counsel dated August 31, 2006,
and Plaintiffs' Notice of Rule 30(b)(6) Deposition to Schering-Plough and to Schering Sales
served on August 30, 2006.

These several items address the Settlement Agreement and Release ("Settlement") between
Schering and the federal government that was announced on August 29, 2006. The Settlement
did not involve AWP issues, but you suggest that the Settlement calls into question whether
Schering has produced in this action documents that should have been produced relating to
Intron A and Temodar, Please be assured that all documents that should have been produced
have been produced.

We are — and always have been — mindful of our obligations under Fed. R. Civ. P. 26(e)(2), as
well as our general obligations under the discovery rules and the orders of this Court. In the past,
whenever we have had reason to believe that discovery responses should be supplemented, we
have supplemented them, and the same would be true if a need for supplementation were to arise
in the future. Prior to receiving your correspondence, we did not have reason to believe that a
need for supplementation existed in this action, nor had Plaintiffs suggested that one existed.
Nevertheless, we have conducted a review of our document production in light of your recently
expressed concems regarding Intron A and Temodar.

Based on this review, we have found no reason to supplement our discovery responses. For
example, your expressed concern that Intron A was part of the ReCAP program is misplaced.
The ReCAP Program, which is the Rebetron Combination Therapy Compliance Assessment
Program, involved Rebetron, which is not — and has never been — a subject drug in this case.

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Steve W. Berman -2- September 8, 2006

Nowhere in the section describing ReCAP in the Settlement Agreement — page 6, paragraph (v) ~
is Intron A mentioned. In light of this apparent misunderstanding, we have attached, for your
review, the publicly released version of the Settlement Agreement.

As for Plaintiffs’ Notice of Rule 30(b)(6) Deposition, we respectfully remind you that discovery
has been closed by order of the Court for more than a year. Trial is scheduled to begin in two
months. Schering and Warrick, during a discovery period that lasted almost three years,
produced numerous deponents, including deponents pursuant to Fed. R. Civ. P. 30(b)(6), in
response to numerous requests from Plaintiffs. Under such circumstances, additional discovery
is both inappropriate and unnecessary.

Should you wish to conduct such further discovery, we suggest that you file a motion with the
Court requesting leave to do so. Should you wish to discuss any of the foregoing, we would be
pleased to speak with you at your earliest convenience.

Very truly yours,

(Mb

Adam Wri

Enclosure

cc: John T. Montgomery, Esq,
All Counsel of Record via Lexis File & Serve
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EXHIBIT F
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Schering-Plough and Schering Sales HIGHLY CONFIDENTIAL

Cambridge, MA

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September 13, 2006

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
MDL Docket No. 01C0V12257-PBS

IN RE:
PHARMACEUTICAL INDUSTRY AVERAGE

WHOLESALE PRICE LITIGATION

SCHEDULED DEPOSITION OF
SCHERING-PLOUGH AND SCHERING SALES
Wednesday, September 13, 2006
9:30 a.m.

Hagens Berman Sobol Shapiro LLP
One Main Street
Cambridge, Massachusetts

Reporter: Lisa A. Moreira, RMR/CRR

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Henderson Legal Services, Inc.
(202) 220-4158

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Schering-Plough and Schering Sales HIGHLY CONFIDENTIAL September 13, 2006

Cambridge, MA

Page 2 Page 4
1 APPEARANCES 1 PROCEEDINGS
2 2 (Exhibit Schering-Plough 30(b)(6) 001
3 HAGENS BERMAN SOBOL SHAPIRO LLP] 3 marked for identification)
4 (BY: HUGH E. McNEELY, ESQ.) 4 MR. McNEELY: My name is Hugh McNeely, andf}
5 One Main Street, 4th Floor 5 I'm appearing on behalf of the plaintiffs in this
6 Cambridge, MA 02142 6 matter. I'm going to introduce the notice of Rule
7 (617)475-1961 7 30(b)(6} deposition to defendants Schering-Plough
8 hugh@hbsslaw.com 8 and Schering Sales, which has been marked as
9 Counsel for class plaintiffs 9 Exhibit Schering-Plough 30(b)(6) 001, calling for
16 10 a 30(b)(6) deposition for today beginning at 9:30
11 11 a.m., and no witness has been produced.
12 No one appeared on behalf of the Schering entities | 12 The only correspondence that has been
13 13 received from counsel for Schering-Plough
14 14 Corporation is from one Adam Wright with the law
15 15 firm of Ropes & Gray. Attached to his letter is a
16 16 copy of the settlement agreement and release between
17 17 Schering-Plough Corporation and the U.S. Attomeys
18 18 office here in the District of Massachusetts and the
19 19 Office of Inspector General of the United States as
20 20 well as the Department of Health and Human Services.
21 21 There are other parties to this document, but I am
22 22 introducing the letter from Mr. Wright as Exhibit
Page 3 Page 5
1 INDEX 1 Schering-Plough 30(b)}(6) 002 and the settlement
2 2 agreement and release as Exhibit Schering-Plough }
3 THE WITNESS: 3 30(b)(6) 003.
4 SCHERING-PLOUGH AND SCHERING SALES PAGE 4 (Exhibit Schering-Plough 30(b)(6) 002
5 (By Mr. MeNeely).......... cesses 004 5 and Exhibit Schering-Plough 30(b)(6) 003 marked for
6 6 identification)
7 EXHIBITS 7 MR. McNEELY: The purpose of this 30(b)(6)
8 NUMBER DESCRIPTION PAGE 8 deposition was to examine the witness regarding the
9 Exhibit Schering-Plough 30(b)(6) 001 9 recent announcement of the settlement by Schering-
10 = Notice of deposition... 004 10 Plough and also the announced guilty plea or
11 Exhibit Schering-Plough 30(b)(6) 002 11 agreement to plea to one count of conspiracy by ;
12 Letter from Adam Wright to Steve Berman........005 12 Schering Sales Corporation to violate 18 USC Section
13 Exhibit Schering-Plough 30(b)(6) 003 13 1001. Exhibit A to the notice requested the
14 — Settlement agreement and release............ 005 14 existence of any program plan or conduct involving
15 Exhibit Schering-Plough 30(6)(6) 004 15 payments to doctors who started patients on Intron-A }}
16 = Information... eee eee 005 16 and/or Temodar. Also, there are five other
17 Exhibit Schering-Plough 30(b)(6) 005 17 categories of documents requested, including those
18 Letter to Brien F. O'Connor, 8/24/06.......... 006 18 documents that were presented to the U.S. Attorney
19 Exhibit Schering-Plough 30(b)(6) 006 19 in connection with the announced settlement and
20 Letter to Brien T. O'Connor, 8/24/06.......... 006 20 guilty plea. :
21 Exhibit Schering-Plough 30(b)(6) 007 21 (Exhibit Schering-Plough 30(b)(6) 004 i
22 Addendum to corporate integrity agreement..... 007 22 marked for identification) i

Sas ae

2 (Pages 2 to 5)

Henderson Legal Services, Inc.
(202) 220-4158

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“mc wae

Schering-Plough and Schering Sales HIGHLY CONFIDENTIAL September 13, 2006

Cambridge, MA

Page 6

MR. McNEELY: Also as exhibits to this
statement has been marked Exhibit Schering-Plough

Page 8

1 Plough Corporation or Schering Sales and this
2 morming's proceedings are concluded.

Oot A OF he

1
2
3 30(b)(6) 004, which is the information filed by the 3 (Whereupon the deposition was
4 U.S. Attorneys office in the United States District 4 suspended at 9:47 a.m.)
5 Court, District of Massachusetts. It's with a 5
6 criminal docket number 06 CR 10250 PBS, whichis an) 6
7 information, and again it's been marked Exhibit 7
8 Schering-Plough 30(b)(6) 004. 8
9 (Exhibit Schering-Plough 30(b)(6) 005 9
10 marked for identification) 10
11 MR. McNEELY: Also attached to this 11
12 statement is a letter from the United States 12
13 Department of Justice to the attommey for Schering- 13
14 Plough Corporation with regards to the agreements 14
15 and the entry of the plea agreement that is 15
16 scheduled to take place next Wednesday, September 16
17 the 20th in the afternoon. That letter is marked as 17
18 Exhibit Schering-Plough 30(b)(6) 005. 18
19 (Exhibit Schering-Plough 30(b}(6) 006 19
20 marked for identification) 20
21 MR. McNEELY: Also what has been marked as | 21
22 Exhibit Schering-Plough 30(b)(6) 006 is a side 22

Page 7

letter agreement with Schering-Plough Corporation.
It is a four-page -- excuse me, five-page document
that has been executed by both the U.S. Department
of Justice and acknowledged by Thomas J. Sabatino,
executor, vice president and general counsel for the
Schering- Plough Corporation.

(Exhibit Schering-Plough 30(b){6) 007
marked for identification)

MR. McNEELY: And finally, the document
that has been marked as Exhibit Schering-Plough
30(b}(6) 007 is an addendum to corporate integrity
agreement between the Office of Inspector General of
the Department of Health and Human Services and
Schering-Plough Corporation.

I will note for the record that Exhibit
Schering-Plough 30(b)(6) 004, Exhibit Schering-
Plough 30(b)(6) 005, Exhibit Schering-Plough 30(b)(6)
006 and Exhibit Schering-Plough 30(b)(6) 007
are documents that are publicly available from the
court filings here in the District of Massachusetts.

At this time, which is 9:47 a.m., no

Page 9
CERTIFICATE I
I, Lisa A. Moreira, Registered Diplomate

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4 Reporter, Certified Real-Time Reporter, CSR No.

5 146299 and Notary Public, do hereby certify that the
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foregoing transcript, Volume I, is a true and
accurate transcription of my stenographic notes
taken on September 13, 2006.

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12
13 Lisa A. Moreira
14 Registered Diplomate Reporter
15 Certified Real-Time Reporter
16 CSR No, 146299
17 Notary Public
18 My commission expires
19 December 25, 2009 4
20 |
21 3
22 !
3 (Pages 6 to 9)

Henderson Legal Services, Inc.
(202) 220-4158

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